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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :      Criminal No. 1:21-CR-00026
                                              :
v.                                            :      (Judge Conner)
                                              :
ROHAN LYTTLE                                   :     (Electronically Filed)

      MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT ROHAN LYTTLE

        AND NOW, comes the defendant, Rohan Lyttle, by his attorneys Andrew S. Rendeiro

and Christopher Wright, and files this Motion to Withdraw as Counsel for Defendant Rohan

Lyttle, avers as follows:

1.      On January 25, 2021, a criminal complaint was filed against Rohan Lyttle charging him

Conspiracy to Commit Mail and Wire Fraud in violation of 18 U.S.C.

On February 17, 2021, Rohan Lyttle was charged in three counts on the instant indictment with

conspiracy to commit wire and mail fraud in violation of 18 U.S.C. §1349 (Count 1); mail fraud

in violation of 18 U.S.C. §1341 (Count 5) and, wire fraud in violation of 18 U.S.C. §1343 (Count

6).

2.      Andrew Rendeiro and Christopher Wright were retained by Rohan Lyttle for legal

representation in the above captioned case.

3.      The attorney-client relationship has been irretrievably broken.

4.      Communications between both counsel and the client, Mr. Lyttle, has broken down to the

point where effective and zealous representation is impossible and we can no longer represent

Mr. Lyttle.

5.      We have advised Mr. Lyttle that there are irreconcilable differences and that the

undersigned would petition this Court for leave to withdraw as counsel.
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6.        The client, Mr. Lyttle, consents to the instant motion and no longer wants the

undersigned as his legal representation.

7.        We therefore, respectfully request that we be relieved as counsel for defendant Rohan

Lyttle.

8.        Assistant United States Attorney Ravi R. Sharma, Esq., has been made aware of our

request to withdraw as counsel and he graciously does not oppose the instant motion.

          WHEREFORE, Andrew Rendeiro and Christopher Wright respectfully requests that this

Honorable Court grant their Motion to Withdraw as Counsel.

Date: August 15, 2021

                                                                             Respectfully submitted,

                                                                            /s/ Andrew S. Rendeiro
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